8:08-cr-00183-LSC-FG3        Doc # 171   Filed: 01/26/11    Page 1 of 1 - Page ID # 1062




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:08CR183
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
RONALD PROKUPEK,                            )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant's motion for release (Filing No.

169), referred from the Eighth Circuit Court of Appeals.

      IT IS ORDERED:

      1.     The Defendant's motion for release (Filing No. 169) is granted;

      2.     The Defendant is hereby released from custody pending further proceedings;

             and

      3.     The Clerk shall deliver a copy of this order to the U.S. Marshal for this

             District.

      DATED this 26th day of January, 2011.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
